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                                                         Schedule A
Carrier/Defendant Bill of Lading No.:   Container No.:   Cargo   Port of        On Board          Place of       Amount of
                                                                 Loading        Loading Date      Delivery       Loss
                                                                                per the Bill of
                                                                                Lading

Janel Group        SLAXS0100009341 MMAU1070985           Frozen Los Angeles,    19-Jul-21         Osaka, Japan   $279,429.28
                                   MNBU0045837           medium United States
                                   MNBU4084317           shaved
                                   MNBU4122166           lemon
                                                         peel

Maersk             912516238            MMAU1070985      Frozen Los Angeles,    23-Jul-21         Osaka, Japan   $279,429.28
                                        MNBU4084317      medium United States
                                        MNBU0045837      shaved
                                                         lemon
                                                         peel
